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                          UNITED STATES BANKRUPTCY COURT
                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION

IN RE:                                                              )
                                                                    )
CHARLOTTE AUTOMOTIVE CENTER SALES, LLC                              )      CASE NO. 22-30043
                                                                    )      CHAPTER 11
                              Debtor.                               )
                                                                    )

MOTION FOR APPROVAL OF SALE OF REAL PROPERTY FREE AND CLEAR OF LIENS,
                  CLAIMS AND ENCUMBRANCES; AND
        FOR AUTHORITY TO PAY DEBT SECURED BY DEEDS OF TRUST

       COMES NOW the Debtor, Charlotte Automotive Center Sales, LLC (hereinafter “CACS”), by
and through counsel, and moves the Court pursuant to the applicable provisions of Title 11 of the United
States Code, including specifically Section 11 U.S.C. 363, to enter its order approving the sale of real
property (described below) free and clear of all liens, claims, interests and encumbrances pursuant to the
contract identified below. In support of this motion, CACS would show the Court the following:

      1.      CACS is a North Carolina limited liability corporation having been formed on 21
October 2011.

       2.      Theresa Finocchio (a/k/a Balaouras) is the sole member/manager of CACS.

       3.      CACS became the owner of certain real property located in Mecklenburg County, North
Carolina having an address of 6149 East Independence Boulevard (hereinafter “the Property”) pursuant
to a North Carolina deed dated 19 March 2021, said deed being from Zygos Sevens, LLC, an affiliated
predecessor of CACS.

      4.     The deed transferring the Property to CACS dated 18 March 2021 is recorded in the
Mecklenburg County Registry on 19 March 2021 at Book 35822, Page 372.

      5.      The predecessors to CACS as owners of the Property executed two (2) Deeds of Trust
encumbering the Property, the first Deed of Trust being in favor of Yadkin Valley Bank and Trust
Company, said Deed of Trust being recorded on 22 July 2011 at Book 26621, Page 156, Mecklenburg
County Registry, securing an original indebtedness of $200,000.00.

       6.      On or about 25 January 2018 a second Deed of Trust encumbering the Property was
executed, said second Deed of Trust being in favor of First National Bank of Pennsylvania, said Deed of
Trust being recorded on 8 February 2018 in Book 32452, Page 452, Mecklenburg County Registry,
securing an original indebtedness of $124,000.00.
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       7.      On 28 January 2022 the Debtor filed this voluntary Chapter 11 case.

      8.      At the time of the filing of this Chapter 11 case, the Property was occupied by an entity
known as U. S. Tires & Auto, LLC, a North Carolina limited liability corporation.

       9.      The occupancy by U. S. Tires & Auto, LLC is, at best, a tenancy-at-will.

       10.     This Chapter 11 Debtor is a single-asset real estate entity.

        11.     At the time of the filing of this Chapter 11 case, the Property was subject to a foreclosure
action by First National Bank.

       12.     During the foreclosure process, there were several upset bids placed for the Property.

       13.     Upon information and belief, the highest upset bid was approximately $405,000.00.

       14.    The Debtor has received an offer for the purchase of the Property, which the Debtor has
accepted (subject to approval of the Court) for a purchase price of $450,000.00, said purchaser being
RJS Properties, Inc.

       15.    A copy of the Agreement for the Purchase of Real Property is attached hereto and
incorporated by reference.

       16.     Pursuant to the terms of the Agreement, there is no financing contingency.

        17.     The Agreement, as set forth in its terms, is subject to approval by this Court, and is also
subject to the current occupant having vacated the Property.

        18.    The Agreement for the sale of the Property provides that closing shall occur on the later
of fifteen (15) days after the expiration of the inspection period (which is 15 days from the date of
execution) or approval of the sale by the U. S. Bankruptcy Court.

         19.     The Debtor believes in its business judgment that the contract is the best and highest offer
that it will receive for the Property, as the contract also calls for no financing contingency and is a cash
deal.

       20.     The agreement is the result of an arms-length negotiation between the buyer and the
Debtor, and the buyer has no relationship to this Debtor.
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        21.    The buyer is a good faith purchaser of the Property, without any connection to the Debtor
and as such the provisions of 11 U.S.C. 363(m) apply.

       22.    The Debtor believes that the current occupant will agree to vacate the Property on a
reasonable basis, as the parties are negotiating in good faith as to when the current occupant can vacate
the Property.

       23.     The Debtor will also involve the purchaser in the negotiations concerning the date of
vacation of the Property, so that perhaps closing can occur even if the occupant is unable to vacate the
premises by the closing date.

       24.     At closing, the Debtor would propose to pay all normal and customary closing costs
including the cost of revenue stamps, and prorated taxes.

       25.     The only additional fee to be paid by the Debtor will be the counsel fees in connection
with the transaction, which are subject to approval by this Court in this Chapter 11 case.

        26.     At closing the Debtor would also propose to pay the debt secured by the two (2) Deeds of
Trust identified above, and the Debtor and the lender will hopefully reach agreement as to the amount of
that debt prior to closing.

        27.     In the event that the Debtor and the secured lender are unable to agree on the amount to
be paid to the secured lender, pursuant to the applicable provisions of 11 U. S. C. Section 363, the liens
of the secured creditor will attach to the proceeds in the same priority as said liens were attached to the
Property, as a purchase price of $450,000.00 is believed to be approximately $200,000.00 more than the
payoff to the secured creditor.

        28.    In the event that agreement cannot be reached as to the amount to be paid to the secured
creditor, the Debtor will seek hearing before the Court on shortened notice to determine the amount
owed to said secured creditor, to be paid as soon as possible.

        29.    Other than the two (2) Deeds of Trust identified above, and the occupancy claim of U. S.
Tires, the Debtor is unaware of any other party having a specific claim, lien, or encumbrance as to the
Property.

       30.     The purchase price of $450,000.00 is greater than the aggregate value of all liens on the
Property.

        31.     The occupancy claim of U. S. Tires is an alleged interest that is in bona fide dispute, as
there is pre-petition litigation involving that question.
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       WHEREFORE, the Debtor, CACS, prays that the Court enter its order as follows:

        1.     Approving the sale of the Property as identified above to RJS Properties, Inc. pursuant to
the terms of the contract attached hereto;

        2.      Approving the sale pursuant to Section 363 to be free and clear of all liens, claims,
interests and encumbrances, as all of the requirements of Section 363(f) have been met;

        3.     Authorizing the Debtor to pay normal and customary closing costs including prorated
taxes, and revenue stamps;

        4.      Authorizing the Debtor to pay, at closing, the secured claim of First National Bank to the
extent that the parties agree to said amount. To the extent that there is a dispute as to the amount owed
to First National Bank, the agreed amount would be paid at closing, with the disputed amount to be later
determined by this Court, upon shortened notice, if necessary;

       5.     Authorizing the Debtor to execute any and all necessary documents, including a North
Carolina Special Warranty Deed, to convey the Property to RJS Properties, Inc;

       6.      Determining that the purchaser, RJS Properties, Inc. is a good faith purchaser and that the
provisions of 11 U.S.C. Section 363(m) apply in this case.

       This the 11th day of March, 2022.

                                                     /s/ R. Keith Johnson
                                                     R. Keith Johnson (Bar No. 8840)
                                                     Attorney for Charlotte Automotive
                                                     Center Sales, LLC
                                                     1275 Highway 16 South
                                                     Stanley, NC 28164
                                                     (704)-827-4200
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                            UNITED STATES BANKRUPTCY COURT
                      FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                  CHARLOTTE DIVISION

IN RE:                                                                      )
                                                                            )
CHARLOTTE AUTOMOTIVE CENTER SALES, LLC                                      )       CASE NO. 22-30043
                                                                            )       CHAPTER 11
                                 Debtor.                                    )
                                                                            )

                               NOTICE OF OPPORTUNITY FOR HEARING
                (No Protest Notice: No Hearing Will Be Held Unless Request For Hearing is Filed)

         TAKE NOTICE that Charlotte Automotive Center Sales, LLC has filed a MOTION FOR APPROVAL
OF SALE OF REAL PROPERTY FREE AND CLEAR OF LIENS, CLAIMS AND ENCUMBRANCES; AND
FOR AUTHORITY TO PAY DEBT SECURED BY DEEDS OF TRUST with the Court. A copy of that motion
is included with this notice or copied on the reverse side of this notice.

       Your rights may be affected. You should read these papers carefully and discuss them with your
attorney, if you have one in this bankruptcy case. If you do not have an attorney, you may wish to consult
one.

        If you do not want the court to order the relief sought in the motion, or if you want the court to consider
your views on the motion, then on or before twenty-one (21) days from the date of this notice, you or your
attorney must do three things:

        1.     File a written response with the court requesting that the court hold a hearing and
explaining your position. File the response at:

                Charles R. Jonas Federal Building
                401 W. Trade St., Room 111
                Charlotte, NC 28202

        If you mail your request to the court for filing, you must mail it early enough so the court will receive it
on or before the date stated above.

        2.     On or before the date stated above for written responses, you must also mail or fax a copy
of your written request to:

                R. Keith Johnson
                Law Office of R. Keith Johnson, P.A.
                1275 S. NC Bus. Hwy. 16
                Stanley, NC 28164

                Shelley Abel
                U. S. Bankruptcy Administrator
                402 W. Trade St.
                Charlotte, NC 28202
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       3.     Attend the hearing scheduled for April 6, 2022 at 9:30 a.m. in LTB Courtroom 2A at the
Charles R. Jonas Federal Building, 401 W. Trade Street, Charlotte, North Carolina.

        If you or your attorney do not take these steps, A HEARING WILL NOT BE HELD, and the court may
decide that you do not oppose the relief sought in the motion and may enter an order granting that relief.

       This the 11th day of March, 2022.

                                                     /s/ R. Keith Johnson
                                                     R. KEITH JOHNSON
                                                     1275 S. NC Bus. Hwy. 16
                                                     Stanley, NC 28164
                                                     (704) 827-4200
                                                     NCSB #8840
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                           UNITED STATES BANKRUPTCY COURT
                     FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION

IN RE:                                                                   )
                                                                         )
CHARLOTTE AUTOMOTIVE CENTER SALES, LLC                                   )       CASE NO. 22-30043
                                                                         )       CHAPTER 11
                                                        Debtor.          )
                                                                         )

                                        CERTIFICATE OF SERVICE

         THIS IS TO CERTIFY that on the below date, the undersigned served a copy of the MOTION FOR
APPROVAL OF SALE OF REAL PROPERTY FREE AND CLEAR OF LIENS, CLAIMS AND
ENCUMBRANCES; AND FOR AUTHORITY TO PAY DEBT SECURED BY DEEDS OF TRUST and Notice
of Opportunity for Hearing for same either electronically or by depositing, enclosed in a postpaid wrapper,
properly addressed to the following parties in interest, at their last known addresses as shown below, and to the
entire creditor matrix, in a post office or official depository under the exclusive care and custody of the United
States Postal Service:

Charlotte Automotive Center Sales, LLC
6149 E. Independence Blvd.
Charlotte, NC 28212

Shelley Abel (ECF)
Bankruptcy Administrator

        This the 11th day of March, 2022.

                                                        /s/ R. Keith Johnson
                                                        R. KEITH JOHNSON
                                                        1275 S. NC Bus. Hwy. 16
                                                        Stanley, NC 28164
                                                        (704) 827-4200
                                                        NCSB #8840
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